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9                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
10
                                    WESTERN DIVISION
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      KEAVENY DRUG, INC., individually          Case No. 2:24-cv-09379-SPG-SK
12    and on behalf of a class of those
13    similarly situated,                       [PROPOSED] ORDER GRANTING
                                                JOINT STIPULATION TO EXTEND
14               Plaintiff,
                                                TIME TO RESPOND TO
15    v.                                        PLAINTIFF’S COMPLAINT
16
      GOODRX, INC.; GOODRX
17    HOLDINGS, INC.; CVS CAREMARK              Earliest Complaint Served: 11/05/2024
      CORP.; EXPRESS SCRIPTS, INC.;             Earliest Response Due:11/26/2024
18    MEDIMPACT HEALTHCARE                      New Response Date: 01/10/2025
      SYSTEMS, INC.; and NAVITUS
19    HEALTH SOLUTIONS, LLC,
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                 Defendants.                    Honorable Sherilyn Peace Garnett
21                                              United States District Judge
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     [PROPOSED] ORDER GRANTING JOINT                      CASE NO. 2:24-CV-09379-SPG-SK
     STIPULATION TO EXTEND TIME TO
     RESPOND TO PLAINTIFF’S COMPLAINT
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 1         The Court, having read and considered the joint stipulation (the “Joint Stipulation”)
 2   filed on behalf of Plaintiff Keaveny Drug, Inc. and Defendants GoodRx, Inc., GoodRx
 3   Holdings, Inc., CVS Caremark Corp., Express Scripts, Inc., MedImpact Healthcare
 4   Systems, Inc., and Navitus Health Solutions, LLC (collectively, the “Parties”), and
 5   finding GOOD CAUSE thereon, hereby grants the Joint Stipulation.
 6         IT IS HEREBY ORDERED that:
 7         1.     Defendants’ response to Plaintiff’s Complaint is to be filed on or by January
 8   10, 2025;
 9         2.     Up to and until January 10, 2025, none of Parties shall seek or be required to
10   provide the disclosures or discovery contemplated by Federal Rules of Civil Procedure
11   26, 30, 31, 33, 34, or 36;
12         3.     The Joint Stipulation does not constitute a waiver of any of the Parties’
13   claims, rights, or defenses, including but not limited to the right to seek a further extension
14   of GoodRx’s time to answer or otherwise respond to the Complaint or any other pleading
15   filed by Plaintiff in the above-captioned action; and
16         4.     If Defendants answer, move, or otherwise plead with respect to a complaint
17   in a related case pending in any district, Defendants will concurrently answer, move, or
18   otherwise plead in response to the Complaint.
19
20   Dated:________________________                  _____________________________
                                                     SHERILYN PEACE GARNETT
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                                                     United States District Judge
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28 [PROPOSED] ORDER GRANTING JOINT                             CASE NO. 2:24-CV-09379-SPG-SK
   STIPULATION TO EXTEND TIME TO
   RESPOND TO PLAINTIFF’S COMPLAINT
